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IN THE UNITED STATES BANKRUPTCY COURT Peet = D

FOR THE DISTRICT OF DELAWARE 9194 FEB | 2 AM 9: 53

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In re. | Chapter 11
Lordstown Motors Corp., et al., | Case No. 23-10831 (MFW)
Debtors. | Jointly Administered

OBJECTION OF RAHUL SINGH TO DEBTORS’ SECOND MOTION TO EXTEND THE

DEBTORS’ EXCLUSIVE PERIODS TO FILE AND SOLICIT VOTES ON A CHAPTER 11 PLAN.
(DOCKET # 935)

1. We respectfully plead with the court to deny any requested “extensions” Docket #935 and
reject the “Plans” being proposed by the LMC top brass who silently watched insider Mr. Steve
Burns unload/sell millions of his shares to folks who had no idea of the fraud going on behind
closed doors. Mr. Daniel Ninnivagi, Edward Hightower, Adam Kroll, Angela Strand and other
board members did nothing. Insider Mr. Burns knew of the fraud and dumped millions of his
shares harming folks, harming LMC and its stock price. Foxconn uses low stock price to cry
Nasdaq and Agreement violations. This, in turn, sets up LMC top brass to reduce everyone’s
shares by a factor of 15, file Chapter 11 bankruptcy and sell assets to insider Mr. Burns/LAS for
around 10 million dollars, but these assets are well north of 300 million dollars. To put it politely,
insider Mr. Steve Burns, the Debtors and their Counsel have not been forthcoming. The Counsel
for the Equity Committee have not represented the defrauded Shareholders. Other than Docket
#793 (my objection to the Plan), it was only the United States Trustee that objected to the first
plan (Docket # 878). The Equity Committee does not care that the fraudulent Plans do not

account for the “reduction in shares by a factor of 15” or the price a shareholder paid for shares.
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Fraud and crime have reduced my family’s shares from around 114,795 to 7653 and from Docket

#793, reduced our $1,090,406.56 to around $10,714.20. Claims 8-11.

2. The Debtor’s after engaging in fraud and crime cannot be trusted to suggest how to process
our claims or who gets what, let alone be allowed to propose Plan after Plan and extensions to
do more harm. Fraud and crime should not be allowed anywhere, including in this case where
the interests of the public at large are being harmed. America’s retirement system relies on the
stock market. We respectfully plead with this Court to vacate the order [Docket #586] regarding
sale of assets to insider Mr. Burns/LAS (Hazel-Atlas Glass v. Hartford-Empire Co., 322 U.S. 238
(1944)). We humbly request this Court to consider Plans from others, including those from
defrauded shareholders and claim filers. The Court’s guidance is much needed. We beg the
Court that Foxconn action be litigated as soon as possible, and any proceeds from it, in addition
to the assets (Battery Lines, Electric Motor “hub motors” Lines, intellectual property etc.) be part

of new Plan and Distribution.
Dated: February 9, 2024
Respectfully Submitted by

/sf Rahul Singh

Rahul Singh
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CERTIFICATE OF SERVICE

|, Rahul Singh, hereby certify that, on February 9, 2024, | served a true and correct copy of

Objection of Rahul Singh to Debtor’s Second Motion to Extend the Debtors’ Exclusive Periods to
File and Solicit Votes on a Chapter 11 Plan. (Docket # 935)

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